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 2
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 6
     Attorney for Defendant,
 7   CARLITO VELASCO
 8

 9
                           IN THE UNITED STATES DISTRICT COURT
10
                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
11
                                              * * * * *
12

13                                               ) Case No.: CR-03-5418 OWW
     UNITED STATES OF AMERICA,                   )
14                                               ) STIPULATION AND PROPOSED ORDER TO
                  Plaintiff,                     )
15                                               ) CONTINUE SENTENCING HEARING
           vs.                                   )
16                                               )
     CARLITO VELASCO,                            )
17                                               )
                  Defendant.
18                                               )
19

20         IT IS HEREBY STIPULATED between the Defendant, CARLITO VELASCO,
21   by   and    through   his   attorney      of    record,     Anthony     P.    Capozzi,    and
22   Plaintiff, United States of America, by and through Assistant United
23   States Attorney,       Kevin   P.    Rooney,         that   the    hearing    now   set   for
24   Tuesday, January       3,   2006    at    1:30       p.m.   be    continued    to   Tuesday,
25   January 17, 2006 at 1:30 p.m.
26

27         It    is   further    stipulated          by    the   parties     that    any    delay
28   resulting from this continuance shall be excluded on the following
     basis:


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                                                                               Case No. 03-5418 OWW
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 2
         1.       Title 18, United States Code, Section 3161(h)(1)(A) which
 3
                  states:
 4
                  (h)   The following periods of delay shall be excluded in
 5
                        computing the time within which any information or an
 6
                        indictment must be filed, or in computing the time
 7
                        within   which   the    trial   of    any    such   offense    must
 8
                        commence:
 9
                        (1)   Any   period     of     delay   resulting      from     other
10
                              proceedings concerning the defendant, including
11
                              but not limited to –
12
                              (A)   delay      resulting      from     an     proceeding,
13
                                    including     any   examinations,       to   determine
14
                                    the mental competency or physical capacity
15
                                    of the defendant;
16

17
                                                Respectfully submitted,
18
     Dated:     December 21, 2005
19

20
                                                     /s/ Anthony P. Capozzi
21                                              Anthony P. Capozzi,
                                                Attorney for Defendant,
22                                              Carlito Velasco
23
     Dated:     December 21, 2005
24
                                                     /s/ Kevin P. Rooney
25                                              Kevin P. Rooney,
                                                Assistant United States Attorney
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 2
                                           ORDER
 3
            IT IS SO ORDERED.       Good cause having been shown, the Hearing
 4
     set for January 3, 2006, is vacated and continued to January 17,
 5

 6   2006     at   1:30   p.m.     Additionally,     time   shall    be   excluded      by

 7   stipulation from the parties and pursuant to 18 USC §3161(h)(1)(A).
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     Dated:     December 22, 2005
 9
                                         /s/Oliver W. Wanger
10                                       Honorable Oliver W. Wanger,
                                         United States District Court Judge
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